                                   UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF TENNESSEE AT CHATIANOOGA
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 Martin S. McKay,
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                                         *                                    <'-.I Chat~anooga
          Plaintiff,                     *
                                         *
 vs.                                     *            CASE NO.- 1:15-CV-224
                                         *
 Mark Goins,                             *            Judge-  Mattice
          Coordinator of Elections       *
          State of Tennessee,            *
                                         *
 Tre Hargett,                            *
         Secretary of State              *
         State of Tennessee,             *
                                         *
 Kerry B. Steelman,                      *
         Administrator of Elections      *
          Hamilton County, Tennessee,    *
                                         *
          Defendants                     *
                                         *
 ************************************************************************************


               Reply To Motion For Ruling On Private Right Of Action

        Defendants have suggested that this Court should not make a determination on the


 Motion For Ruling On Private Right Of Action in the instant matter, that this question should


 be deferred to the Sixth Circuit. Plaintiff does not agree with this assessment by the


 defendants.


        The U.S. Supreme Court has already provided guidance on matters such as this through


 Citizens United v. FEC, 558 U.S. 310 (U.S. Supreme Court 2010),


        "Beyond workability, the relevant factors in deciding whether to adhere to the principle of
         stare decisis include antiquity of the precedent, the reliance interests at stake, and of course
         whether the decision was well reasoned ... " See Citizens United at 362-363, citing



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             Montejo v. Louisiana, 556 U.S. 778, 792-793.


            Clearly, the decision by the Sixth Circuit in McKay v. Thompson, pertaining to

                                                    1
 enforcement of 52 USC§ 10101(a}(2}(B} through 42 USC§ 1983, was not well reasoned in light


 of the decision by the Eleventh Circuit in Schwier v. Cox, 340 F.3d 1284 (11th Circuit, 2003}. The


 Eleventh Circuit panel was actually critical of the Sixth Circuit in its analysis, as follows,

            "In McKay, the Sixth Circuit relied entirely on Willing v. Lake Orion Community Schools Board of
             Trustees, 924 F.Supp. 815, 820 (E.D.Mich. 1996), which in turn relied entirely on Good v. Roy, 459
             F.Supp. 403, 405-06 (D.Kan. 1978). Thus, the extent of the analysis relied on by the Sixth Circuit
             is the following from Good: "Furthermore, subsection (c) provides for enforcement by the Attorney
             General with no mention of enforcement by private persons ... the unambiguous language of Section
             1971 will not allow us to imply a private right of action. However, ... the Supreme Court found that
             other sections of the Voting Rights Act, 42 USC§§ 1973c and 1973h, respectively, could be enforced
             by a private right of action, even though those sections also provide for enforcement by the Attorney
             General." (See Schwier at para. 58-59, p. 1294.)


            In giving the Attorney General the right to enforce § 1971, the House Judiciary


 Committee stated the bill's purpose was "to provide means of further securing and protecting


 the civil rights of persons ... ". (emphasis added) Therefore, "nothing in the report suggests that


 the Committee intended the provision granting the Attorney General authority to bring suit, to


 foreclose the continued use of§ 1983 by individuals." See Schwier at p. 1295.


            In light of the analysis of the Eleventh Circuit on this issue, the decision by the Sixth


 Circuit panel in McKay v. Thompson is not well reasoned.


            Further, the reliance interests at stake are also called into question. Courts of the Sixth


 Circuit and of other Circuits, would be required to adhere to the precedent in McKay v.



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     Please note that Title 52 is a new addition to the U.S. Code as of September, 2014; at the time of plaintiff's
     litigation in McKay v. Thompson and also the Schwier decision by the Eleventh Circuit, the appropriate section
     of the Civil Rights Act of 1964 was codified at 42 USC 1971(a)(2)(B).



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 Thompson if they were to follow the principle of stare decisis, even though it is now clear that

 this decision is not good law.


         In Citizens United, Chief Justice Roberts wrote in his concurring opinion, joined by


 Justice Alita,

         "stare decisis is neither an inexorable command, Lawrence v. Texas, 539 U.S. 558 (2003), nor a
          mechanical formula of adherence to the latest decision, Helvering v. Hallock, 309 U.S. 106 {1940)."
          See Citizens United at 377.


         "Stare decisis is instead a 'principle of policy'. Helvering, supra." See Citizens United at 378.




                                                     Conclusion


         For the reasons stated in this reply brief, plaintiff respectfully submits that this Court


 has sufficient precedent to find in favor of a private right of action pertaining to enforcement


 of 52 USC§ 10101(a)(2)(B} through 42 USC§ 1983.



                                                                 Respectfully submitted,


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                                    Certificate of Service


       I certify that a true and correct copy of the foregoing has been served
 upon the following pprson, Counsel for defendants, by U.S. Mail, postage prepaid, on
 this s"'!!: day of NaJttnkrc , 20-1£_.


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